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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 IN RE GEORGIA SENATE BILL 202                    Master Case No.:
                                                  1:21-MI-55555-JPB

 ASIAN AMERICANS ADVANCING
 JUSTICE–ATLANTA, et al.,

            Plaintiffs,

            v.

  BRAD RAFFENSPERGER, in his                      Civil Action No.:
  official capacity as the Georgia                1:21-CV-01333-JPB
  Secretary of State, et al.,

            Defendants,
  REPUBLICAN NATIONAL
  COMMITTEE, et al.,
            Intervenor-Defendants.


             PLAINTIFFS’ RULE 5.4 CERTIFICATION OF SERVICE

          Pursuant to Local Rules 5.4(A) and 26.3, undersigned counsel for Plaintiffs

Asian Americans Advancing Justice–Atlanta, Steven J. Paik, Deepum Patel, Nora

Aquino, Angelina Thuy Uddullah, and Anjali Enjeti-Sydow hereby certify that, on

February 9, 2023, true and correct copies of the following documents were served

by electronic mail upon counsel of record for all parties:




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            PLAINTIFFS’ PRODUCTION VOLUME 3 (AJATL-SB202-
             00001984 to AJATL-SB202-00001991) IN RESPONSE TO STATE
             DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION
             OF 3/9/22 AND INTERVENOR-DEFENDANTS’ FIRST REQUESTS
             FOR PRODUCTION OF DOCUMENTS OF 4/15/22

            EXECUTED VERIFICATION REGARDING PLAINTIFF STEVEN
             PAIK’S RESPONSES TO STATE DEFENDANTS’ FIRST SET OF
             INTERROGATORIES, REQUESTS FOR PRODUCTION, AND
             REQUESTS FOR ADMISSION (RESPONSES SERVED ON 4/22/22)


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Respectfully submitted this 9th day of February, 2023.


 /s/ Meredyth L. Yoon                        /s/ Niyati Shah
 MEREDYTH L. YOON (Georgia Bar               NIYATI SHAH*
 No. 204566)                                 TERRY AO MINNIS*º
 LAURA MURCHIE*                              ASIAN AMERICANS ADVANCING
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                                             /s/ R. Adam Lauridsen
 /s/ Eileen Ma                               LEO L. LAM*
 EILEEN MA*                                  R. ADAM LAURIDSEN*
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 º Not admitted in D.C.                      Attorneys for Plaintiffs Asian Americans
                                             Advancing Justice–Atlanta, Steven J.
                                             Paik, Deepum Patel, Nora Aquino,
                                             Angelina Thuy Uddullah, and Anjali
                                             Enjeti-Sydow



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                CERTIFICATE OF COMPLIANCE AND SERVICE

          I hereby certify that on February 9, 2023, a true and correct copy of the

foregoing Plaintiffs’ Rule 5.4 Certification of Service, which has been prepared

using 14-point Times New Roman Font, was electronically filed with the Clerk of

Court using the CM/ECF system, which will automatically send e-mail notification

of such filing to all counsel of record.

                                               /s/ R. Adam Lauridsen
                                               R. ADAM LAURIDSEN
                                               Attorney for Plaintiffs




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